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                     UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                         FORT WORTH DIVISION
  Samantha Chandler,

               Plaintiff,
  v.                                         No. _____________________

  Tarrant County,

               Defendant.


                             Notice of Removal

       The Defendant, Tarrant County, removes Cause No. 236-329921-21

from the 236th Judicial District for Tarrant County, Texas to the United

States District Court for the Northern District of Texas pursuant to 28

U.S.C. §§ 1441 and 1446. As grounds for this removal, the County shows

as follows:

                            Statement of the Case

       1.     The Plaintiff, Samantha Chandler, sued the County in the

District Court for the 236th Judicial District in Tarrant County, Texas

styled Samantha Chandler v. Tarrant County, No. 236-329921-21 (“State

Court Action”).

       2.     Chandler caused the County to be served with process on

October 28, 2021. The County has not answered in the State Court Action.

       3.     In her Original Petition, Chandler alleges that the County

violated Title VII of the Civil Rights Act. Specifically, she claims that the
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County violated the Pregnancy Discrimination Act. She also claims that

the County wrongfully terminated her employment after she informed the

County that she was pregnant.

                      Federal Question Jurisdiction

      4.     Chandler alleges violations of the Civil Rights Act of 1964, §

701(k), as amended by the Pregnancy Discrimination Act, 42 U.S.C.A. §

2000e(k). Thus, the case presents a federal question for which the Court

has original jurisdiction. 28 U.S.C. § 1331. Accordingly, removal is

appropriate under U.S.C. § 1441(a).

           All Procedural Requirements Have Been Satisfied

      5.     The County has attached to the Notice of Removal certified

copies of all the process, pleadings, docket sheet, documents from the State

Court Action, in compliance with 28 U.S.C. § 1446(a) and Local Rule

81.1(4) as follows:

Exhibit 1 – Index of State Court Documents

Exhibit 2 – State Court Action Docket Sheet

Exhibit 3 – State Court Action Original Petition

Exhibit 4 – State Court Action Return of Service of Citation

 The County also files the completed civil cover sheet, supplemental cover

sheet, and certificate of interested persons as required by Local Rule 81.1.

      6.     Chandler alleges that she resides in Fort Worth, Texas.

Tarrant County is a political subdivision of the State of Texas and is

located within the boundaries of the United States District Court for the

Northern District of Texas. Thus, the Court has personal jurisdiction over


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the parties. Further, venue is proper because the Fort Worth division

embraces the court in which the State Court Action is pending. 28 U.S.C.

§ 1441(a).

      7.     The County files this Notice of Removal within 30 days of the

date it was served with process (October 28, 2021). Therefore, the removal

is timely under 28 U.S.C. § 1446(b).

                               Conclusion

      In filing this Notice of Removal, the County does not waive any

defenses or objections it may have to this action. The County intends no

admission of fact, law, or liability and expressly reserves all defenses,

motions, and/or pleas.

                                Respectfully submitted,
                                SHAREN WILSON
                                Criminal District Attorney
                                Tarrant County, Texas

                                s/ Stephen A. Lund
                                STEPHEN A. LUND
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                         Certificate of Service

       On November 12, 2021, I served a copy of the above document as
follows:

 Ali Crocker Russell               Via U.S. Mail & Email
 Crocker Russell & Associates
 2401 Callendar Road, Suite 103
 Mansfield, TX 76063
 ali@cralawfirm.com


                               s/ Stephen A. Lund
                               STEPHEN A. LUND




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